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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

 UNITED STATES OF AMERICA                             )
                                                      )
 V.                                                   )
                                                      )   FILED UNDER SEAL
                                                      )
 ANNIE NICOLE RITENOUR                                )               3:21mj00035
                                                          Case No.
                                                      )
                                                      )


                                AFFIDAVIT IN SUPPORT OF
                                 A CRIMINAL COMPLAINT

       I, Andrew Clouser, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI), United States

Department of Justice, currently assigned to the Charlottesville Resident Agency. I have been an

FBI Special Agent since December 2020 and have been assigned to the Richmond Division since

December 2020. My duties involve the investigation of a variety of violations of federal offenses,

including violent crimes, public corruption, and other violations of federal law.

       2.      This Affidavit is submitted in support of a criminal complaint against, and arrest

warrant for, Annie Nicole Ritenour (“RITENOUR”) for a violation of 18 U.S.C § 373 (Solicitation

to Commit a Crime of Violence) and 18 U.S.C. § 1958 (Murder-For-Hire).

       3.      The facts set forth in this affidavit are based upon my personal observations, my

training and experience, and information obtained from various law enforcement personnel and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause for the


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requested complaint and does not purport to set forth all of my knowledge of or investigation into

this matter.

                          INFORMATION REGARDING BITCOIN

       4.      Bitcoin is a type of virtual currency, circulated over the Internet. Bitcoins are not

issued by any government, bank, or company, but rather are controlled through computer software

operating via a decentralized, peer-to-peer network. Bitcoin is just one of many varieties of virtual

currency.

       5.      Bitcoin are sent to and received from Bitcoin “addresses.” A Bitcoin address is

somewhat analogous to a bank account number and is represented as a 26-to-35-character-long

case-sensitive string of letters and numbers. Each Bitcoin address is controlled through the use of

a unique corresponding private key. This key is the equivalent of a password, or PIN, and is

necessary to access the funds associated with a Bitcoin address. Only the holder of an address’

private key can authorize transfers of bitcoin from that address to other Bitcoin addresses. Users

can operate multiple Bitcoin addresses at any given time and may use a unique Bitcoin address for

each and every transaction.

       6.      A Bitcoin wallet is used to store cryptocurrency and can control multiple Bitcoin

addresses. The wallet interfaces with the blockchain and uses private keys to restrict access to

spending Bitcoin.

       7.      To acquire bitcoin, a typical user purchases them from a virtual currency exchange.

A virtual currency exchange is a business that allows customers to trade virtual currencies for other

forms of value, such as conventional fiat money (e.g., U.S. dollars, Russian rubles, euros).

Exchanges can be brick-and-mortar businesses (exchanging traditional payment methods and


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virtual currencies) or online businesses (exchanging electronically transferred money and virtual

currencies). Virtual currency exchanges doing business in the United States are regulated under

the Bank Secrecy Act and must collect identifying information about their customers and verify

their clients’ identities.

        8.      To transfer bitcoin to another Bitcoin address, the sender transmits a transaction

announcement, which is electronically signed with the sender’s private key, across the peer-to-

peer Bitcoin network. To complete a transaction, a sender needs only the Bitcoin address of the

receiving party and the sender’s own private key. This information on its own rarely reflects any

identifying information about either the sender or the recipient. As a result, little-to-no personally

identifiable information about the sender or recipient is transmitted in a Bitcoin transaction itself.

Once the sender’s transaction announcement is verified by the network, the transaction is added to

the blockchain, a decentralized public ledger that records every Bitcoin transaction. The

blockchain logs every Bitcoin address that has ever received bitcoin and maintains records of every

transaction for each Bitcoin address.

        9.      While a Bitcoin address owner’s identity is generally anonymous within the

blockchain (unless the owner opts to make information about the owner’s Bitcoin address

publicly available), investigators can use the blockchain to identify the owner of a particular

Bitcoin address. Because the blockchain serves as a searchable public ledger of every Bitcoin

transaction, investigators can trace transactions to, among other recipients, Bitcoin exchangers.

Because Bitcoin exchangers generally collect identifying information about their customers, as

discussed above, subpoenas or other appropriate legal process submitted to exchangers can, in

some instances, reveal the true identity of an individual responsible for a Bitcoin transaction.


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                                     PROBABLE CAUSE

       10.     On or about September 16, 2021, FBI Knoxville contacted FBI Charlottesville to

advise they had information they believed to be a threat to life. Through a Confidential Human

Source (CHS), FBI Knoxville obtained information from a website that advertised murder-for-hire

services, hereinafter referred to as - “The Website.” As law enforcement presently understands,

although The Website offered murder-for-hire services, it never actually delivered on the promised

services after receiving payment from its customers.

       11.     Upon reviewing a screen capture of The Website’s homepage, I saw that it

advertised murder-for-hire services. The Website advertised ”[W]e can kill any person you want,

as long as it is not a president or very important person that is guarded by the military.” The

Website further advertised “We can make the murder look accidental, so that Police will not

suspect anyone.

       12.     According to FBI Knoxville, RITENOUR created an account with The Website

and sent The Website Bitcoins with a total market value at the time of approximately $3,200 in an

effort to solicit and hire a “hitman” to kill an identified person herein after referred to as

“VICTIM.” The money was converted and sent to The Website using the currency conversion

company AmericanCrypto.

       13.




       14.     FBI Knoxville also provided this office with purported excerpts of communications

on The Website between RITENOUR and The Website administrators. Within these


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communications, on or about June 25, 2021, RITENOUR asked the administrator of The Website

how she would show proof she had enough money for a job to be performed. RITENOUR asked

this question multiple times on that same day between the approximate times of 8:30pm and

8:45pm. On or about June 26, 2021, the administrator responded, “Hi, I see you have added funds

to escrow. This is proof you have funds please add difference and we can do job.”.

       15.      On or about June 26, 2021, at approximately 6:00am, RITENOUR placed an

“order” with The Website to utilize its murder-for-hire services. RITENOUR named the order

“shoot and get away” and uploaded an image of VICTIM. RITENOUR included the address of

VICTIM’s workplace which returned to a department store in central Virginia where VICTIM

was, at the time, actually employed. In her order RITENOUR also included the following

instructions:

       “I am just looking for a simple quick job. The address of the person will be the
       best place to make the target, as it’s his workplace (XXXX’s). He works 6am to 3
       pm Monday through Friday. He drives a                                       ,
       license plate ***-****. The days/time I mentioned will be the best time and place,
       I would say wait until he’s off at 3 and then make your move.”.


       16.      In October 2021 the FBI obtained records of financial transactions from

AmericanCrypto, a crypto currency exchange business. AmericanCrypto helps customers to

convert standard currency to Bitcoin and then send that Bitcoin to the vendor or business of the

customer’s choice. The records provided by AmericanCrypto showed transactions made by

RITENOUR via a Bitcoin ATM machine to include invoice numbers, block chain addresses, the

amount of currency that was converted to Bitcoin, and the ATM location in which the transaction

occurred. The records showed RITENOUR made a total of three transactions to The Website

between June 23, 2021 and June 24, 2021 for a total currency conversion of approximately

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$4,000 to Bitcoin. According to the records, the transactions occurred at approximately 3:46pm

on June 23, 3:52pm on June 23, and 3:49pm on June 24. Multiple charges and fees associated

with the transactions resulted in approximately $3,200 being received by The Website.

AmericanCrypto also provided still photos from the ATM machine which show RITENOUR

making these aforementioned transactions.

                                        CONCLUSION

       17.      Based on the foregoing, there is probable cause to believe that RITENOUR

committed a violation of 18 U.S.C. § 373 (Solicitation to Commit a Crime of Violence) and § 1958

(Murder-For-Hire).




                                             OATH

       The information in this affidavit is true to the best of my knowledge and belief.

                                     Respectfully submitted,
                                     s/Andrew Clouser
                                     Andrew Clouser, Special Agent
                                     Federal Bureau of Investigation



Received by reliable electronic means and sworn and attested to by telephone on this ____day of

October 2021.



_________________________________________
JOEL C. HOPPE
UNITED STATES MAGISTRATE JUDGE

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